









 Dismissed and Memorandum Opinion filed August 26, 2004









&nbsp;Dismissed and
Memorandum Opinion filed August 26, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00455-CV

____________

&nbsp;

IN THE INTEREST OF A.T.K

&nbsp;



&nbsp;

On Appeal from the 314th District
Court

Harris County, Texas

Trial Court Cause No.
03-08920J

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment of conviction signed March
8, 2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On June 15, 2004, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P.
37.3(b).&nbsp; Appellant filed no response.

On July 22, 2004, we issued an order, giving appellant until
August 9, 2004, either to provide proof of indigence or proof of payment for
the record.&nbsp; Appellant filed no response.









Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed August 26, 2004.

Panel consists of Justices
Anderson, Hudson, and Frost.

&nbsp;





